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Counsel for TransCanada Keystone Pipeline, LP and TransCanada Corporation

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


 INDIGENOUS ENVIRONMENTAL                   CV 17-31-GF-BMM
 NETWORK, et al.,
                                            DEFENDANT-INTERVENORS’
             and                            MOTION TO AMEND THE
                                            COURT’S ORDER ON SUMMARY
 NORTHERN PLAINS RESOURCE                   JUDGMENT
 COUNCIL, et al.,

                     Plaintiffs,
 v.

 UNITED STATES DEPARTMENT
 OF STATE, et al.,

                     Federal Defendants,
 and

 TRANSCANADA CORPORATION,
 et al.,

                   Defendant-Intervenors.
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                                     MOTION

      Pursuant to Rule 59(e) and Rule 60(b), Defendant-Intervenors TransCanada

Keystone Pipeline, LP and TransCanada Corporation (collectively, TransCanada)

respectfully request that the Court clarify or, if necessary, amend its Order of

November 8, 2018 (Doc. 211) and its Order of November 15, 2018 (Doc. 212).

Final judgment was granted on November 15, 2018.

      As set forth in TransCanada’s Memorandum in Support accompanying this

motion, TransCanada is filing this motion to clarify or modify the Court’s

injunction, which TransCanada interprets as preventing the company from

continuing preconstruction activities. Preconstruction activities, examples of

which are described in the Declaration of Norrie Ramsay (e.g., construction

planning, project development, permit application, landowner contacts and

surveying), have no irreparable consequences and are unrelated to the purported

deficiencies that the November 8, 2018 Order identifies. The injunction of these

activities, however, impose substantial and irreparable harm on TransCanada.

      For the foregoing reasons and the grounds set forth in TransCanada’s

accompanying Memorandum, TransCanada moves to clarify or amend the Court’s

November 8, 2018 Order (Doc. 211) and November 15, 2018 Order (Doc. 212).

      Pursuant to Local Rule 7.1(c)(1), counsel for TransCanada contacted counsel

for the parties regarding the filing of this motion. Plaintiffs Northern Plains
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Resource Council, Bold Alliance, Center for Biological Diversity, Friends of the

Earth, Natural Resources Defense Council, and Sierra Club and Plaintiffs

Indigenous Environmental Network and North Coast River Alliance indicated to

counsel that they will reserve judgment on the motion until after reading it.

Federal Defendants indicated that they do not oppose this motion.

      Dated this 20th day of November, 2018,

                                       /s/ Jeffery Oven
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                        CERTIFICATE OF SERVICE

      I hereby certify that on November 20, 2018, a copy of the foregoing motion

was served on all counsel of record via the Court’s CM/ECF system.

                                            /s/ Jeffery Oven




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